Case 2:03-cV-02659-.]P|\/|-de Document 49 Filed 05/27/05 Page 1 of 2 Page|D 83

  

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

ISSAC B. TIGRETT, III,
Plaintiff,
No. 03-2659 MI/V

UNITED STATES OF AMERICA,

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Defendant.

 

ORDER TO FILE TRIAL TRANSCRIPT

 

The Court has determined that the filing of the November 22,
2004, trial transcript in this case is necessary to conclude its
opinion in this case. Accordingly, the parties are hereby
ORDERED to request and file with the Court a copy of the November
22, 2004, trial transcript in this case within 14 days of the
entry of this order.l The parties shall share the costs of the

transcript equally.

So ORDERED this ii day of May, 2005.

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P MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

l A copy of the trial transcript in this case may be ordered
by contacting Court Reporter Brenda Parker at (901) 526-8769.

This document entered on the docket sheet |n compliance
with Flu!e 58 and/or 79(3) FF\CP on ' " (/ ?

 

F TENNESSEE

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This notice confirms a copy of the document docketed as number 49 in
case 2:03-CV-02659 Was distributed by faX, mail, or direct printing on
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Cannon F. Allen

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

R. Scott Clarke

US DEPARTl\/IENT OF .TUSTICE
P.O. BOX 227

Ben Franklin Station

Washington, DC 20044

Lloyd De Vos

H[LL BETTS & NASH7 LLP
200 Liberty St.

20th Floor

NeW Ycirk7 NY 10281

Ivan C. Dale

US DEPARTl\/IENT OF .TUSTICE
P.O. BOX 227

Ben Franklin Station

Washington, DC 20044

Honorable .l on McCalla
US DISTRICT COURT

